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               19-30024, 03/22/2019,
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                                                     03/22/196, Page
                                                                 Page11ofof22




                    UNITED STATES COURT OF APPEALS                       FILED
                           FOR THE NINTH CIRCUIT                          MAR 22 2019
                                                                      MOLLY C. DWYER, CLERK
                                                                       U.S. COURT OF APPEALS
UNITED STATES OF AMERICA,                       No.    19-30024

                Plaintiff-Appellee,             D.C. No. 1:18-cr-00258-BLW-2

 v.

GENNADY BABITCHENKO, AKA
Gennadii Babichenko,

                Defendant-Appellant.


UNITED STATES OF AMERICA,                       No.    19-30027

                Plaintiff-Appellee,             D.C. No. 1:18-cr-00258-BLW-1
                                                District of Idaho,
 v.                                             Boise

PAVEL BABICHENKO,                               ORDER

                Defendant-Appellant.

Before: SILVERMAN, TALLMAN, and MURGUIA, Circuit Judges.

      These are related appeals from the district court’s order denying appellants’

motions for pre-trial release. We have jurisdiction pursuant to 18 U.S.C. § 3145(c)

and 28 U.S.C. § 1291.

      Appellants contend they are entitled to release because the anticipated length

of their pretrial detention violates due process. However, appellants’ pretrial

detention in this case has not been excessively prolonged and does not violate due

KWH/MOATT
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                                                      03/22/196, Page
                                                                  Page22ofof22




process under the circumstances of this case. See United States v. Gelfuso, 808

F.3d 785, 359-60 (9th Cir. 2015). Appellants’ contentions that anticipated future

delays will render their detention unconstitutional are not yet ripe, and we decline

to address them.

      Gennady Babitchenko next argues that he should be released on conditions

because he is not a “flight risk, a threat to the trial process, and/or a danger to the

community.” In its September 25, 2018 detention order, the district court ordered

appellants detained finding that no condition or combination of conditions would

reasonably assure their presence as required. See 18 U.S.C. § 3142(e). Gennady

Babitchenko did not appeal. In his subsequent motion for release, he failed to

present any new evidence or information that would affect the district court’s prior

decision in any way. In these circumstances, the district court did not err in

declining to revisit its prior detention order. See id. § 3142(f).

      AFFIRMED.




KWH/MOATT                                   2                                     19-30024
